289 F.2d 937
    COMMISSIONER OF INTERNAL REVENUEv.Frank O. MAIXNER et al.
    No. 16707.
    United States Court of Appeals Eighth Circuit.
    April 19, 1961.
    
      Petition to Review Decision of Tax Court.
      R. P. Hertzog, Acting Chief Counsel, Washington, D. C., and Louis F. Oberdorfer, Asst. Atty. Gen., for petitioner.
      Louis J. Moriarty, Minneapolis, Minn., for respondent.
      PER CURIAM.
    
    
      1
      Petition to Review Decision of Tax Court dismissed on motion of petitioner, 33 T.C. 191.
    
    